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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 4:01cr59-SPM

PIERRE CARTER,

           Defendant.
________________________________/

                                    ORDER

      THIS CAUSE comes before the Court on the magistrate judge’s report

and recommendation dated May 22, 2007 (doc. 176). Defendant has been

furnished a copy and he filed objections (doc. 181). Pursuant to Title 28, United

States Code, Section 636(b)(1), I find that the report and recommendation is

correct and should be adopted.

      Defendant’s trial was postponed on June 3, 2002, to allow time for

Defendant to enter a guilty plea. Defendant pleaded guilty on June 4, 2002, to

Count One of the indictment, which charged him with conspiring with co-

defendants DeGeorge and Roberts, and others, to distribute and possess with

intent to distribute cocaine and more than 50 grams of crack cocaine. The

Government agreed to dismiss Count Four, which charged Defendant with

distributing more than 5 grams of cocaine base on August 22, 2001.

      Although Defendant argues that his second lawyer, Mr. Glazer, was
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ineffective for failing to convey Defendant’s willingness to accept the prosecutor’s

initial offer to plead to an offense involving less than 50 grams of crack cocaine,

any failure on Mr. Glazer’s part did not result in prejudice to Defendant. By the

time Defendant agreed to the initial offer, the offer was no longer on the table

because the prosecutor learned from the co-defendants, who had since pleaded

guilty and were cooperating, that Defendant’s involvement in the conspiracy

predated the distribution charged in Count Four and that Defendant’s drug

amount for the conspiracy exceeded 50 grams of crack cocaine. The

Government was ready to prove these matters at trial, and jurors were ready to

begin jury selection and trial. A guilty verdict would have resulted in a mandatory

life sentence for Defendant because he had at least two prior drug felony

convictions.

        Defendant had an opportunity to challenge the Government’s proof at trial,

but risked a mandatory life sentence if he lost. Rather than taking his chances at

trial, Defendant knowingly and voluntarily pleaded guilty to Count One. A factual

basis existed for the plea, including a basis to find that the drug amount

exceeded 50 grams. As part of the plea agreement, the Government agreed that

it would only rely on one prior drug felony in its 8511 information, thereby

reducing Defendant’s minimum mandatory sentence from life to twenty years.

        The Court agrees with the report and recommendation that Defendant can

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            21 U.S.C. § 851.
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show no prejudice regarding his belated attempt to accept the initial plea offer.

The offer was no longer available. With the impending trial, Defendant was

facing a mandatory life term if he was found guilty. It was only through further

plea negotiations that the term was reduced to twenty years. There are no

grounds to vacate Defendant’s sentence.

       Accordingly, it is hereby ORDERED as follows:

       1.    The magistrate judge’s report and recommendation (doc. 176) is

ADOPTED and incorporated by reference in this order.

       2.       Defendant’s motion to vacate (doc. 158) is denied.

       DONE AND ORDERED this 24th day of September, 2007.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




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